 Case: 1:18-cv-02523 Document #: 142-7 Filed: 12/18/21 Page 1 of 11 PageID #:7637




Amor v. Cross, et al.
Case No. 18-CV-2523
Our File No. 18-4078




                             EXHIBIT 52
Case: 1:18-cv-02523 Document #: 142-7 Filed: 12/18/21 Page 2 of 11 PageID #:7638
Case: 1:18-cv-02523 Document #: 142-7 Filed: 12/18/21 Page 3 of 11 PageID #:7639
                            EXHIBIT 1
Case: 1:18-cv-02523 Document #: 142-7 Filed: 12/18/21 Page 4 of 11 PageID #:7640
                             EXHIBIT 5
Case: 1:18-cv-02523 Document #: 142-7 Filed: 12/18/21 Page 5 of 11 PageID #:7641




                             REDACTED
Case: 1:18-cv-02523 Document #: 142-7 Filed: 12/18/21 Page 6 of 11 PageID #:7642
Case: 1:18-cv-02523 Document #: 142-7 Filed: 12/18/21 Page 7 of 11 PageID #:7643
Case: 1:18-cv-02523 Document #: 142-7 Filed: 12/18/21 Page 8 of 11 PageID #:7644
Case: 1:18-cv-02523 Document #: 142-7 Filed: 12/18/21 Page 9 of 11 PageID #:7645
Case: 1:18-cv-02523 Document #: 142-7 Filed: 12/18/21 Page 10 of 11 PageID #:7646
Case: 1:18-cv-02523 Document #: 142-7 Filed: 12/18/21 Page 11 of 11 PageID #:7647
